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   From:            Mailing list for eRA system alerts to users on behalf of eRA Communications Office
   To:              ERA-ALERT@LIST.NIH.GOV
   Subject:         Notice of Preliminary Injunction
   Date:            Monday, May 19, 2025 4:35:02 PM
   Attachments:     84 - Order Granting PI.pdf



   HHS Grant Recipients:

   Please review the attached Preliminary Injunction (PI). Please note, this action only applies to the 23
   Plaintiff States listed in the PI and the District of Columbia.




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